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10               THE UNITED STATES DISTRICT COURT
          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
11
12    SANTINA NGUYEN, an             ) Case No.:
      individual,                    ) COLLECTIVE ACTION
13                                   )
14                     Plaintiff,    ) COMPLAINT FOR DAMAGES
              vs.                    )
15                                      1. Failure to Pay Minimum Wage,
                                     )
                                           29 U.S.C. § 206;
16    WESTSIDE VENTURES, INC.        )
                                        2. Failure to Pay Overtime Wages,
      DBA SKIN GENTLEMEN’S           )
17                                         29 U.S.C. § 207;
      CLUB, WOO SUK “STANLEY”        )
                                        3. Unlawful Taking of Tips,
18    YANG, an individual; DOE       )
                                           29 U.S.C. § 203;
      MANAGERS 1-3; and DOES 4-10, )
19                                     4. Failure to Pay Minimum Wage in
      inclusive,                     )
                                           Violation of Cal. Lab. Code §§ 1194
20                                   )
                                           & 1197;
                      Defendants.    )
21                                     5. Failure to Pay Overtime Wages in
                                     )
                                           Violation of Cal. Lab. Code §§ 510,
22                                   )
                                           1194, & 1197;
                                     )
23                                     6. Failure to Furnish Accurate Wage
                                     )
                                           Statements, Cal. Lab. Code § 226;
24                                   )
                                       7. Waiting Time Penalties,
                                     )
25                                         Cal. Lab. Code §§ 201-203;
                                     )
                                       8. Failure to Indemnify Business
26                                   )
                                           Expenses in Violation of Cal. Lab.
                                     )
27                                         Code § 2802;
                                     )
                                        9. Compelled Patronization of
28                                   )
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                                             )    Employer and/or Other Persons in
 1
                                             )    Violation of Cal. Lab. Code § 450;
 2                                           ) 10.Unfair Competition in Violation of
                                             )    Cal. Bus. & Prof. Code §§ 17200, et
 3
                                             )    seq.; and
 4                                           ) 11. Illegal Kickbacks, 29 C.F.R. §
                                             )    531.35
 5
                                             )
 6                                           ) DEMAND FOR JURY TRIAL
 7
 8          Plaintiff SANTINA NGUYEN (“Plaintiff”), individually and on behalf of
 9    all other similarly situated, alleges the following upon information and belief,
10    based upon investigation of counsel, published reports, and personal knowledge:
11    I.    NATURE OF THE ACTION
12          1.     Plaintiff alleges causes of action against defendants Westside
13    Ventures, Inc. dba Skin Gentleman’s Club (“Defendant” or “Skin”), a California
14    Corporation, WOO SUK “STANLEY” YANG (“Defendant” or “Yang”), an
15    individual, DOE MANAGERS 1-3, and DOES 4-100, inclusive (collectively,
16    “Defendants”) for damages due to Defendants evading the mandatory minimum
17    wage and overtime provisions of the Fair Labor Standards Act (“FLSA”), 29
18    U.S.C. §§ 201, et seq. and illegally absconding with Plaintiff’s tips.
19          2.     As a result of Defendants’ violations, Plaintiff seeks to recover all
20    tips kept by the employer, liquidated damages, interest, and attorneys’ fees and
21    costs pursuant to the FLSA.
22          3.     These causes of action arise from Defendants’ willful actions while
23    Plaintiff was employed by Defendants in the three years prior to the filing of this
24    Complaint . During her time being employed by Defendants, Plaintiff was denied
25    minimum wage payments and denied overtime as part of Defendants’ scheme to
26    classify Plaintiff and other dancers/entertainers as “independent contractors.” As
27    the Department of Labor explained in a recent Administrative Interpretation:
28
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                  Misclassification of employees as independent contractors is
 1
                  found in an increasing number of workplaces in the United
 2                States, in part reflecting larger restructuring of business
 3                organizations. When employers improperly classify
                  employees as independent contractors, the employees may
 4                not receive important workplace protections such as the
 5                minimum wage, overtime compensation, unemployment
                  insurance, and workers’ compensation. Misclassification
 6                also results in lower tax revenues for government and an
 7                uneven playing field for employers who properly classify
                  their workers. Although independent contracting
 8                relationships can be advantageous for workers and
 9                businesses, some employees may be intentionally
                  misclassified as a means to cut costs and avoid compliance
10
                  with labor laws.1
11
12           As alleged in more detail below, that is exactly what Defendants are, and
13    were at all times relevant, doing.
14           4.     Plaintiff worked at Defendants’ principal place of business located at
15    3388 S. Robertson Boulevard, Los Angeles, California 90064.
16           5.     Skin failed to pay Plaintiff minimum wages and overtime wages for
17    all hours worked in violation of 29 U.S.C. §§ 206 and 207 of the FLSA.
18           6.     Defendants’ conduct violates the FLSA, which requires non-exempt
19    employees to be compensated for their overtime work at a rate of one and one-
20    half (1 ½) times their regular rate of pay. See 29 U.S.C. § 207(a).
21           7.     Furthermore, Defendants’ practice of failing to pay tipped
22    employees pursuant to 29 U.S.C. § 203(m), violates the FLSA’s minimum wage
23    provision. See 29 U.S.C. § 206.
24           8.     Plaintiff brings a collective action to recover the unpaid overtime
25    compensation and minimum wage owed to her individually and on behalf of all
26
27    1
          See DOL Admin. Interp. No. 2015-1, available at
28        http://www.dol.gov/whd/workers/Misclassification/AI- 2015_1.pdf.
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 1    other similarly situated employees, current and former, of Defendants in
 2    California. Members of the Collective Action are hereinafter referred to as
 3    “FLSA Class Members.”
 4           9.    As a result of Defendants’ violations, Plaintiff and the FLSA Class
 5    Members seek to recover double damages for failure to pay minimum wage,
 6    overtime liquidated damages, interest, and attorneys’ fees.
 7    II.    VENUE AND JURISDICTION
 8           10.   This Court has jurisdiction over the subject matter of this action
 9    under 28 U.S.C. § 1331 because this action arises under the FLSA, 29 U.SC. §
10    201, et seq. Plaintiff’s state law claim for relief is within the supplemental
11    jurisdiction of the Court pursuant to 28 U.S.C. § 1367(a).
12           11.   Venue is proper in this District because at least fifty (50) percent of
13    all known Defendants reside in Los Angeles County. Further, venue is proper in
14    this District because all or a substantial portion of the events forming the basis of
15    this action occurred in this District. Defendants’ club is located in this District
16    and Plaintiff worked in this District.
17           12.   Plaintiff has satisfied all conditions precedent, if any, to the filing of
18    this suit.
19    III.   PARTIES
20           13.   Plaintiff is an individual adult resident of the State of California.
21    Furthermore, Plaintiff was employed by Defendants and qualifies as an
22    “employee” of Defendants as defined by the FLSA, 29 U.S.C. § 203(e)(1). Her
23    consent to this action is attached hereto as Exhibit 1.
24           14.   The FLSA Class Members are all current and former exotic
25    dancers/entertainers who worked at Skin located at 3388 S. Robertson Boulevard,
26    Los Angeles, California 90064 at any time starting three (3) years before this
27    Complaint was filed, up to the present.
28           15. Skin is a California Corporation with its principal place of business
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 1    at 3388 S. Robertson Boulevard, Los Angeles, California 90064. At all times
 2    mentioned herein, Skin was an “employer” or “joint employer” of Plaintiff as
 3    defined by the FLSA, 29 U.S.C. § 203(d) and (g). Skin may be served via its
 4    agent for service of process, Yang, at 3388 S. Robertson Boulevard, Los Angeles,
 5    California 90064.
 6          16.    Yang was/is the main manager who executed the policies regarding
 7    payment to dancers/entertainers and management of dancers/entertainers,
 8    including Plaintiff. Yang is also the owner of Skin and resides in Los Angeles
 9    County, California at 3785 Wilshire Boulevard, Apartment 1808, Los Angeles,
10    California 90010.
11          17.    Yang acted directly or indirectly on behalf of Skin, and, at all times
12    mentioned herein was an “employer” or “joint employer” of Plaintiff within the
13    meaning of the FLSA. He exerted operational and management control over
14    Skin, including day to day management. He was frequently present at, owned,
15    directed, controlled and managed the operations at Skin. He also controlled the
16    nature, pay structure, and employment relationship of Plaintiff and the FLSA
17    Class Members. Yang had at all times relevant to this lawsuit, the authority to
18    hire and fire employees at Skin, the authority to direct and supervise the work of
19    employees, the authority to sign on the business’ checking accounts, including
20    payroll accounts, and the authority to make decisions regarding employee
21    compensation and capital expenditures. Additionally, she was responsible for the
22    day-to-day affairs of Skin. In particular, he was responsible for determining
23    whether Skin complied with the FLSA.
24          18.    DOE MANAGERS 1-3 are the managers/owners who control the
25    policies and enforce the policies related to employment at Skin.
26          19.    At all material times, Defendants have been an enterprise in
27    commerce or in the production of goods for commerce within the meaning of 29
28    U.S.C. § 203(r)(1) of the FLSA because they have had employees at their club
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 1    engaged in commerce their club which has travelled in interstate commerce.
 2    Moreover, because of Defendants’ interrelated activities, they function in
 3    interstate commerce. 29 U.S.C. § 203(s)(1).
 4          20.    Furthermore, Defendants have had, and continue to have, an annual
 5    gross business volume in excess of the statutory standard.
 6          21.    At all material times during the three (3) years prior to the filing of
 7    this action, Defendants categorized all dancers/entertainers employed at Skin as
 8    “independent contractors” and have failed and refused to pay wages or
 9    compensation to such dancers/entertainers. Plaintiff was an individual employee
10    who engaged in commerce or in the production of goods for commerce as
11    required by 29 USC §§ 206-207.
12          22.    The true names, capacities or involvement, whether individual,
13    corporate, governmental or associate, of the Defendants named herein as DOE
14    MANAGERS 1 through 3 and DOES 4 through 10, inclusive are unknown to
15    Plaintiff who therefore sues said Defendants by such fictitious names. Plaintiff
16    prays for leave to amend this Complaint to show their true names and capacities
17    when the same have been finally determined. Plaintiff is informed and believes,
18    and upon such information and belief alleges thereon, that each of the Defendants
19    designated herein as DOE is negligently, intentionally, strictly liable or otherwise
20    legally responsible in some manner for the events and happenings herein referred
21    to, and negligently, strictly liable intentionally or otherwise caused injury and
22    damages proximately thereby to Plaintiff, as is hereinafter alleged.
23          23.    Plaintiff is informed and believes that, at all relevant times herein,
24    Defendants engaged in the acts alleged herein and/or condoned, permitted,
25    authorized, and/or ratified the conduct of its employees and agents, and other
26    Defendants and are vicariously or strictly liable for the wrongful conduct of its
27    employees and agents as alleged herein.
28          24. Plaintiff is informed and believes, and on that basis alleges that, each
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1    of the Defendants acted, in all respects pertinent to this action, as the agent or
 2    employee of each other, and carried out a joint scheme, business plan, or policy in
 3    all respect thereto and, therefore, the acts of each of these Defendants are legally
 4    attributable to the other Defendants, and that these Defendants, in all respects,
 5    acted as employer and/or joint employers of Plaintiff in that each of them
 6    exercised control over her wage payments and control over her duties.
 7           25.   Plaintiff is informed and believes, and on that basis alleges that, at all
 8    relevant times, each and every Defendant has been the agent, employee,
 9    representative, servant, master, employer, owner, agent, joint venture, and alter
10    ego of each of the other and each was acting within the course and scope of his or
11    her ownership, agency, service, joint venture and employment.
12           26.   At all times mentioned herein, each and every Defendant was the
13    successor of the other and each assumes the responsibility for the acts and
14    omissions of all other Defendants.
15    IV.    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
16                               (AGAINST ALL DEFENDANTS)
17           A.    FACTUAL ALLEGATIONS
18           27.   Defendants operate an adult-oriented entertainment facility located
19    at 13388 S. Robertson Boulevard, Los Angeles, California 90064. At all times
20    mentioned herein, Defendants were “employer(s)” or “joint employer(s)” of
21    Plaintiff.
22           28.   At all times during the four (4) years prior to the filing of the instant
23    action, Defendants categorized all dancers/entertainers employed by Defendants
24    as “independent contractors” and have failed and refused to pay wages to such
25    dancers.
26           29.   At all times relevant to this action, Defendants exercised a great deal
27    of operational and management control over the subject club, particularly in the
28    areas of terms and conditions of employment applicable to dancers and
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 1    entertainers.
 2           30.      Plaintiff began working as a dancer for Defendants in the prior three
 3    years to the filing of this Complaint.
 4           31.      The primary duty of a dancer/entertainer is to dance and entertain
 5    customers, and give them a good experience. Specifically, a dancer/ entertainer
 6    performs stage and table dances, and entertains customers on an hourly basis.
 7           32.      Stated differently, dancers/entertainers dance on stage, perform table
 8    dances, and entertain customers in VIP rooms, all while nude or semi-nude.
 9           33.      Plaintiff worked and performed at the adult-oriented entertainment
10    facility multiple shifts per week. Plaintiff was an integral part of Defendants’
11    business which operated solely as an adult-oriented entertainment facility
12    featuring nude or semi-nude female dancers/ entertainers.
13           34.      Defendants did not pay dancers/ entertainers on an hourly basis.
14           35.      Defendants exercised significant control over Plaintiff during her
15    shifts and would demand that Plaintiff work four (4) days a week and tell
16    Plaintiff what time she was permitted to leave.
17           36.      Defendants set prices for all VIP performances.
18           37.      Defendants set the daily cover charge for customers to enter the
19    facility and had complete control over which customers were allowed in the
20    facility.
21           38.      Defendants controlled music for Plaintiff’s performances.
22           39.      Defendants controlled the means and manner in which Plaintiff
23    could perform.
24           40.      Defendants placed Plaintiff on a schedule.
25           41.      Defendants had the authority to suspend, fine, fire, or otherwise
26    discipline entertainers for non-compliance with their rules regarding dancing.
27           42.      Defendants actually suspended, fined, fired, or otherwise disciplined
28    entertainers for non-compliance with their rules regarding dancing.
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 1          43.    Although Defendant allowed dancers/entertainers to choose their
 2    own costumes, Defendants reserved the right to decide what a particular
 3    entertainer was allowed to wear on the premises. In order to comply with Skin’s
 4    dress and appearance standards, Plaintiff typically expended approximately one
 5    (1) hour of time each shift getting ready for work without being paid any wages
 6    for such time getting ready.
 7          44.    Plaintiff was compensated exclusively through tips from Defendants'
 8    customers. That is, Defendants did not pay Plaintiff whatsoever for any hours
 9    worked at their establishment.
10          45.    Defendants also required Plaintiff to share her tips with Defendants
11    and other non-service employees who do not customarily receive tips, including
12    the managers, disc jockeys, and the bouncers.
13          46.    Defendants are in violation of the FLSA’s tipped-employee
14    compensation provision, 29 U.S.C. § 203(m), which requires employers to pay a
15    tipped employee a minimum of $2.13 per hour. Defendants also violated 29
16    U.S.C. § 203(m) when they failed to notify Plaintiff about the tip credit
17    allowance (including the amount to be credited) before the credit was utilized.
18    That is, Defendants’ exotic dancers/entertainers were never made aware of how
19    the tip credit allowance worked or what the amounts to be credited were.
20    Furthermore, Defendants violated 29 U.S.C. § 203(m) because they did not allow
21    Plaintiff to retain all of her tips and instead required that she divide her tips
22    amongst other employees who do not customarily and regularly receive tips.
23    Because Defendants violated the tip-pool law, Defendants lose the right to take a
24    credit toward minimum wage.
25          47.    Defendants exercised significant control over Plaintiff through
26    written and unwritten policies and procedures. Defendants had visibly posted in
27    the employees’ locker room the written employee rules for late arrivals and early
28    leaves and the corresponding fees for which performers would be responsible.
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  1          48.    Skin provided and paid for all advertising and marketing efforts
  2    undertaken on behalf of Skin
  3          49.    Skin paid for the building used by Skin, maintenance of the facility,
  4    the sound system, stages, lights, beverage and inventory used at the facility.
  5          50.    Defendants made all hiring decisions regarding wait staff, security,
  6    entertainers, managerial and all other employees on the premises.
  7          51.    Skin’s opportunity for profit and loss far exceeded Plaintiff’s
  8    opportunity for profit and loss from work at Skin.
  9          52.    Nude dancing is an integral part of Skin’s operations. Skin’s
 10    advertising and logo prominently displays nude dancing for its customers. Skin is
 11    well known as a “strip club.”
 12          53.    Skin needs dancers/ entertainers to successfully and profitably
 13    operate the Skin business model.
 14          54.    The position of dancer/entertainer requires no managerial skill of
 15    others.
 16          55.    The position of dancer/entertainer requires little other skill or
 17    education, formal or otherwise.
 18          56.    The only requirements to become an entertainer at Skin are
 19    “physical attributes” and the ability to dance seductively. Plaintiff did not have a
 20    formal interview but instead was glanced over “up and down” and participated in
 21    a brief audition by the manager before being offered an employment opportunity.
 22    The amount of skill required is more akin to an employment position than that of
 23    a typical independent contractor. Defendants do not require prior experience as
 24    an entertainer or any formal dance training as a job condition or prerequisite to
 25    employment. Defendants do not require the submission of an application or a
 26    resume as part of the hiring process. In fact, Plaintiff has little or no formal dance
 27    training and experience before auditioning to dance at Skin.
 28          57. Defendants failed to maintain records of wages, fines, fees, tips and
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  1    gratuities and/or service charges paid or received by dancers/entertainers.
  2          58.    Plaintiff was not paid an hourly minimum wage or any hourly wage
  3    or salary despite being present at Defendants’ facility and required to work and
  4    entertain its customers at any time during an eight-plus (8+) hour work shift.
  5          59.    Plaintiff was not paid overtime wages at one-and-a-half (1½) times
  6    the regular minimum wage rate for any hours worked despite being present at
  7    Defendants’ facility and required to work and entertain its customers for longer
  8    than eight (8) hours per shift.
  9          60.    Plaintiff was not paid an hourly minimum wage for the typical one
 10    (1) hour of time expended prior to each shift to get ready for work, including
 11    applying makeup and hair, and to comply with Defendants’ dress and appearance
 12    standards. Plaintiff estimates that she spent approximately five hundred U.S.
 13    Dollars ($500.00) annually on makeup, hair-related expenses, and outfits.
 14          61.    Plaintiff was not paid an hourly minimum wage for the time she was
 15    required to wait at Skin until the premises and the parking lot were cleared of
 16    customers.
 17          62.    The FLSA Class Members had the same pay structure and were
 18    under the same controls as Plaintiff.
 19          63.    Plaintiff and FLSA Class Members would work over forty (40)
 20    hours in some weeks each worked for Defendants.
 21          64.    Defendants have never paid Plaintiff and FLSA Class Members any
 22    amount as wages whatsoever, and have instead unlawfully required Plaintiff and
 23    FLSA Class Members to pay them for the privilege of working.
 24          65.    The only source of monies received by Plaintiff (and the class she
 25    seeks to represent) relative to her employment with Defendants came in the form
 26    of gratuities received directly from customers, a portion of which Plaintiff and
 27    the FLSA Class Members were required to pay to Defendants.
 28    ///
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  1          66.     Although Plaintiff and FLSA Class Members are required to and do
  2    in fact frequently work more than forty (40) hours per workweek, they are not
  3    compensated at the FLSA mandated time-and-a-half rate for hours in excess of
  4    forty (40) per workweek. In fact, they receive no compensation whatsoever from
  5    Defendants and thus, Defendants violate the minimum wage requirement of
  6    FLSA. See 29 U.S.C. § 206.
  7          67.     Defendants' method of paying Plaintiff in violation of the FLSA was
  8    willful and was not based on a good faith and reasonable belief that its conduct
  9    complied with the FLSA. Defendants misclassified Plaintiff with the sole intent
 10    to avoid paying her in accordance to the FLSA; the fees and fines described
 11    herein constitute unlawful “kickbacks” to the employer within the meaning of the
 12    FLSA, and Plaintiff is entitled to restitution of such fines and fees.
 13          68.     Plaintiff and the FLSA Class Members who worked at Skin
 14    performed precisely the same job duties - dancing and entertaining at Skin.
 15          69.     Plaintiff and the FLSA Class Members who worked at Skin during
 16    the applicable limitations period(s) were subject to the same work rules
 17    established by the Defendants as identified above.
 18          70.     Plaintiff and the FLSA Class Members at Skin were subject to the
 19    terms and conditions of employment and the same degree of control, direction,
 20    supervision, promotion and investment imposed or performed by Defendants.
 21          71.     Plaintiff and the FLSA Class Members at Skin during the applicable
 22    limitations period(s) were subject to the same across-the-board, uniformly
 23    applied corporate policy mandated by Defendants.
 24          72.     Plaintiff and the FLSA Class Members at Skin, during the applicable
 25    limitations period, were subject to the same fees and fines imposed by
 26    Defendants.
 27          73.     As a result of Defendants’ across-the-board, standard operating
 28    procedure of mischaracterizing dancers/entertainers as “independent contractors”
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  1    and their consequent failure to pay any wages or compensation whatsoever, it is a
  2    certainly that numerous other current and former dancers and entertainers who
  3    worked at Skin during the applicable limitations period would elect to participate
  4    in this action if provided notice of same.
  5             74.   Upon information and belief, more than one hundred (100) dancers
  6    and entertainers have worked at Skin during the three (3) to five (5) years prior to
  7    the filing of this action.
  8             75.   Plaintiff is “similarly situated” to the 29 U.S.C. § 216(b) class of
  9    persons she seeks to represent, and will adequately represent the interests of the
 10    class.
 11             76.   Plaintiff has hired Counsel experienced in class actions and in
 12    collective actions under 29 U.S.C. § 216(b) who will adequately represent the
 13    class.
 14             77.   Defendants failed to keep records of tips, gratuities and/or service
 15    charges paid to Plaintiff or any other dancer/entertainer and failed to maintain
 16    and furnish wage statements to Plaintiff.
 17             78.   Federal law mandates that an employer is required to keep for three
 18    (3) years all payroll records and other records containing, among other things, the
 19    following information:
 20             a.    The time of day and day of week on which the employees’ work
 21                   week begins;
 22             b.    The regular hourly rate of pay for any workweek in which overtime
 23                   compensation is due under section 7(a) of the FLSA;
 24             c.    An explanation of the basis of pay by indicating the monetary
 25                   amount paid on a per hour, per day, per week, or other basis;
 26             d.    The amount and nature of each payment which, pursuant to
 27                   section 7(e) of the FLSA, is excluded from the “regular rate”;
 28             e.   The hours worked each workday and total hours worked each
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  1                  workweek;
  2            f.    The total daily or weekly straight time earnings or wages due for
  3                  hours worked during the workday or workweek, exclusive of
  4                  premium overtime compensation;
  5            g.    The total premium for overtime hours. This amount excludes the
  6                  straight-time earnings for overtime hours recorded under this section;
  7            h.    The total additions to or deductions from wages paid each pay period
  8                  including employee purchase orders or wage assignments;
  9            i.    The dates, amounts, and nature of the items which make up the total
 10                  additions and deductions;
 11            j.    The total wages paid each pay period; and
 12            k.    The date of payment and the pay period covered by payment.
 13    29 C.F.R. 516.2, 516.5.
 14            79.   Defendants have not complied with federal law and have failed to
 15    maintain such records with respect to Plaintiff and the FLSA Class Members.
 16    Because Defendants’ records are inaccurate and/or inadequate, Plaintiff and the
 17    FLSA Class Members can meet their burden under the FLSA by proving that
 18    they, in fact, performed work for which they were improperly compensated, and
 19    produce sufficient evidence to show the amount and extent of their work “as a
 20    matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens
 21    Pottery Co., 328 U.S. 680, 687 (1946). Plaintiff seeks to put Defendants on
 22    notice that she intends to rely on Anderson to provide the extent of her unpaid
 23    work.
 24            B.    INDIVIDUAL LIABILITY UNDER THE FAIR LABOR STANDARDS ACT
 25            80.   In Boucher v. Shaw, 572 F.3d 1087 (9th Cir. 2009), the U.S. Court
 26    of Appeals for the Ninth Circuit held that individuals can be liable for FLSA
 27    violations under an expansive interpretation of “employer.” Id. at 1088. The
 28    FLSA defines “employer” as “any person acting directly or indirectly in the
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  1    interest of an employer in relation to an employee.” 29 U.S.C. § 203(d). The
  2    Ninth Circuit stated that the definition of “employer” under FLSA is not limited
  3    by the common law concept of “employer” but “is to be given an expansive
  4    interpretation in order to effectuate the FLSA’s broad remedial purposes.”
  5          81.    Where an individual exercises “control over the nature and structure
  6    of the employment relationship,” or “economic control” over the relationship,
  7    that individual is an employer within the meaning of the FLSA, and is subject to
  8    liability. Lambert v. Ackerley, 180 F.3d 997 (9th Cir. 1999). The Ninth Circuit
  9    highlighted factors related to “economic control,” which included ownership
 10    interest, operational control of significant aspects of the day-to-day functions, the
 11    power to hire and fire employees, determine salaries, and the responsibility to
 12    maintain employment records.
 13          82.    Diaz, Yang, and Becky Doe Manager are individually liable for
 14    failing to pay Plaintiff her wages. The actual identities of DOE MANAGERS 2
 15    through 3 and DOES 4 through 10 are unknown at this time.
 16    V.     COLLECTIVE ACTION ALLEGATIONS
 17          83.    Plaintiff hereby incorporates by reference and re-alleges each and
 18    every allegation set forth in each and every preceding paragraph as though fully
 19    set forth herein.
 20          84.    Plaintiff brings this action as an FLSA collective action pursuant to
 21    29 U.S.C. § 216(b) on behalf of all persons who were or are employed by
 22    Defendants as exotic dancers/entertainers at any time during the three (3) years
 23    prior to the commencement of this action to present.
 24          85.    Plaintiff has actual knowledge that the FLSA Class Members have
 25    also been denied overtime pay for hours worked over forty(40) hours per
 26    workweek and have been denied pay at the federally mandated minimum wage
 27    rate. That is, Plaintiff worked with other dancers at Skin. As such, she has
 28    firsthand personal knowledge of the same pay violations throughout Defendants’
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  1    club. Furthermore, other exotic dancers/entertainers at Defendants’ club Skin
  2    have shared with her similar pay violation experiences as those described in this
  3    Complaint.
  4          86.    Other employees similarly situated to the Plaintiff work or have
  5    worked at Skin but were not paid overtime at the rate of one and one-half (1½)
  6    their regular rate when those hours exceeded forty (40) hours per workweek.
  7    Furthermore, these same employees were denied pay at the federally mandated
  8    minimum wage rate.
  9          87.    Although Defendants permitted and/or required the FLSA Class
 10    Members to work in excess of forty (40) hours per workweek, Defendants have
 11    denied them full compensation for their hours worked over forty (40).
 12    Defendants have also denied them full compensation at the federally mandated
 13    minimum wage rate.
 14          88.    FLSA Class Members perform or have performed the same or
 15    similar work as the Plaintiff.
 16          89.    FLSA Class Members regularly work or have worked in excess of
 17    forty (40) hours during a workweek.
 18          90.    FLSA Class Members regularly work or have worked and did not
 19    receive minimum wage.
 20          91.    FLSA Class Members are not exempt from receiving overtime
 21    and/or pay at the federally mandated minimum wage rate under the FLSA.
 22          92.    As such, FLSA Class Members are similar to Plaintiff in terms of
 23    job duties, pay structure, misclassification as independent contractors and/or the
 24    denial of overtime and minimum wage.
 25          93.    Defendants’ failure to pay overtime compensation and hours worked
 26    at the minimum wage rate required by the FLSA results from generally
 27    applicable policies or practices, and does not depend on the personal
 28    circumstances of the FLSA Class Members.
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  1          94.    The experiences of the Plaintiff, with respect to her pay, are typical
  2    of the experiences of the FLSA Class Members.
  3          95.    The specific job titles or precise job responsibilities of each FLSA
  4    Class Member does not prevent collective treatment.
  5          96.    All FLSA Class Members, irrespective of their particular job
  6    requirements, are entitled to overtime compensation for hours worked in excess
  7    of forty (40) during a workweek.
  8          97.    All FLSA Class Members, irrespective of their particular job
  9    requirements, are entitled to compensation for hours worked at the federally
 10    mandated minimum wage rate.
 11          98.    Although the exact number of damages may vary among FLSA
 12    Class Members, the damages for the FLSA Class Members can be easily
 13    calculated by a simple formula. The claims of all FLSA Class Members arise
 14    from a common nucleus of facts. Liability is based on a systematic course of
 15    wrongful conduct by the Defendant that caused harm to all FLSA Class
 16    Members.
 17          99.    As such, Plaintiff brings her FLSA claims as a collective action on
 18    behalf of the following class:
 19             All of Defendants’ current and former exotic
 20             dancers/entertainers who worked at the Skin located in Los
 21             Angeles, California at any time starting three (3) years before
 22             this Complaint was filed.
 23    VI.    CAUSES OF ACTION
 24                              FIRST CAUSE OF ACTION
 25     FAILURE TO PAY MINIMUM WAGE PURSUANT TO THE FLSA, 29 U.S.C. § 206
 26                (By Plaintiff Individually and on Behalf of the Collective
 27                                 Against All Defendants)
 28          100. Plaintiff hereby incorporates by reference and re-alleges each and
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1    every allegation set forth in each and every preceding paragraph as though fully
  2    set forth herein.
  3          101. Defendants are engaged in “commerce” and/or in the production of
  4    “goods” for “commerce” as those terms are defined in the FLSA.
  5          102. Defendants operate an enterprise engaged in commerce within the
  6    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
  7    in commerce, and because its annual gross volume of sales made is more than
  8    five hundred thousand U.S. Dollars ($500,000).
  9          103. Defendants failed to pay Plaintiff the minimum wage in violation of
 10    29 U.S.C. § 206.
 11          104. Based upon the conduct alleged herein, Defendants knowingly,
 12    intentionally and willfully violated the FLSA by not paying Plaintiff the
 13    minimum wage under the FLSA.
 14          105. Throughout the relevant period of this lawsuit, there is no evidence
 15    that Defendants’ conduct that gave rise to this action was in good faith and based
 16    on reasonable grounds. In fact, Defendants continued to violate the FLSA long
 17    after they learned that their misclassification scheme and compensation policies
 18    were illegal.
 19          106. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
 20    from Defendants, minimum wage compensation and an equal amount in the
 21    form of liquidated damages, as well as reasonable attorneys’ fees and costs of the
 22    action, including interest, pursuant to 29 U.S.C. § 216(b).
 23                            SECOND CAUSE OF ACTION
 24    FAILURE TO PAY OVERTIME WAGES PURSUANT TO THE FLSA, 29 U.S.C. § 207
 25                (By Plaintiff Individually and on Behalf of the Collective
 26                                 Against All Defendants)
 27          107. Plaintiff hereby incorporates by reference and re-alleges each and
 28    every allegation set forth in each and every preceding paragraph as though fully
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1    set forth herein.
  2          108. Each Defendant is an “employer” or “joint employer” of Plaintiff
  3    within the meaning of the FLSA, 29 U.S.C. § 203(d).
  4          109. Defendants are engaged in “commerce” and/or in the production of
  5    “goods” for “commerce” as those terms are defined in the FLSA.
  6          110. Defendants operate an enterprise engaged in commerce within the
  7    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
  8    in commerce, and because its annual gross volume of sales made is more than five
  9    hundred thousand U.S. Dollars ($500,000.00).
 10          111. Defendants failed to pay Plaintiff the applicable overtime wage for
 11    each hour in excess of forty (40) during each workweek in which she worked in
 12    violation of 29 U.S.C. § 207.
 13          112. Based upon the conduct alleged herein, Defendants knowingly,
 14    intentionally and willfully violated the FLSA by not paying Plaintiff the overtime
 15    wage required under the FLSA.
 16          113. Throughout the relevant period of this lawsuit, there is no evidence
 17    that Defendants’ conduct that gave rise to this action was in good faith and based
 18    on reasonable grounds. In fact, Defendants continued to violate the FLSA long
 19    after they learned that their misclassification scheme and compensation policies
 20    were unlawful.
 21          114. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
 22    from Defendants, overtime wage compensation and an equal amount in the form
 23    of liquidated damages, as well as reasonable attorneys’ fees and costs of the
 24    action, including interest, pursuant to 29 U.S.C. § 216(b).
 25    ///
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1                             THIRD CAUSE OF ACTION
  2       UNLAWFUL TAKING OF TIPS IN VIOLATION OF THE FLSA, 29 U.S.C. § 203
  3                (By Plaintiff Individually and on Behalf of the Collective
  4                                Against All Defendants)
  5          115. Plaintiff hereby incorporates by reference and re-alleges each and
  6    every allegation set forth in each and every preceding paragraph as though fully
  7    set forth herein.
  8          116. Plaintiff customarily and regularly received more than thirty U.S.
  9    Dollars ($30.00) a month in tips and therefore is a tipped employee as defined in
 10    the FLSA, 29 U.S.C. § 203(t), see also 29 C.F.R. § 531.50.
 11          117. At all relevant times, each Defendant is an “employer” or joint
 12    employer of Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).
 13          118. Defendants are engaged in “commerce” and/or in the production of
 14    “goods” for “commerce” as those terms are defined in the FLSA.
 15          119. Defendants operate an enterprise engaged in commerce within the
 16    meaning for the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 17    in commerce, and because its annual gross volume of sales made is more than five
 18    hundred thousand U.S. Dollars ($500,000).
 19          120. Under TIPA:
 20                 [a]n employer may not keep tips received by its
                    employees for any purpose including allowing managers
 21                 or supervisors to keep any portion of employees’ tips,
                    regardless of whether or not it takes a tip credit.
 22
 23          29 U.S.C. § 203.

 24          121. Defendants kept a portion of tips paid to Plaintiff by Defendants’
 25    customers in the form of fees, fines, mandatory charges and other payments to
 26    management, house moms, disc jockeys, and floor men in violation of TIPA.
 27          122. Defendants required Plaintiff to participate in an illegal tip pool,
 28    which included employees who do not customarily and regularly receive tips, and
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  1    do not have more than a de minimis, if any, interaction with customers leaving the
  2    tips (such as the Club DJs, security, and management). See U.S. Dep’t of Labor,
  3    Wage and Hour Division, “Fact Sheet # 15: Tipped employees under the Fair
  4    Labor Standards Act (FLSA).”
  5          123. The contribution the Defendants required Plaintiff to make after each
  6    shift was arbitrary and capricious and the distribution was not agreed to by
  7    Plaintiff other dancers; but rather, was imposed upon Plaintiff and other dancers.
  8          124. By requiring Plaintiff to pool her tips with club management,
  9    including the individual Defendants named herein, Defendants “retained” a
 10    portion of the tips received by Plaintiff in violation of the FLSA.
 11          125. Defendants did not make any effort, let alone a “good faith” effort, to
 12    comply with the FLSA as it relates to compensation owed to Plaintiff.
 13          126. At the time of their illegal conduct, Defendants knew or showed
 14    reckless disregard that the tip-pool which they required Plaintiff to contribute
 15    included non-tipped employees and, therefore, was statutorily illegal. In spite of
 16    this, Defendants willfully failed and refused to pay Plaintiff the proper amount of
 17    the tips to which she was entitled.
 18          127. Defendants’ willful failure and refusal to pay Plaintiff the tips she
 19    earned violates the FLSA.
 20          128. Defendants kept a portion of tips paid to Plaintiff by Defendants’
 21    customers in the form of fees, fines, mandatory charges and other payments to
 22    management, house moms, disc jockeys, and door men in violation of TIPA.
 23          129. As a result of the acts and omissions of the Defendants as alleged
 24    herein, and pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to
 25    damages in the form of all misappropriated tips, plus interest; as liquated
 26    damages, an amount equal to all misappropriated tips, mandatory attorneys’ fees,
 27    costs, and expenses.
 28    ///
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  1                             FOURTH CAUSE OF ACTION
  2      FAILURE TO PAY MINIMUM WAGE UNDER CAL. LAB. CODE §§ 1194 & 1197
  3                   (By Plaintiff Individually Against All Defendants)
  4          130. Plaintiff hereby incorporates by reference and re-alleges each and
  5    every allegation set forth in each and every preceding paragraph as though fully
  6    set forth herein.
  7          131. Plaintiff alleges, on the basis of information and belief, that
  8    Defendants, from the time the applicable statute of limitations begins to the
  9    present time, have engaged in the regular practice of requiring or permitting
 10    Plaintiff to work without paying her the legal minimum wage at all times.
 11          132. Section 2(K) of IWC Wage Order 5 and section 5(H) of IWC Wage
 12    Order 10 define “hours worked” as “the time during which an employee is subject
 13    to the control of the employer, [which] includes all the time the employee is
 14    suffered or permitted to work, whether or not required to do so.” An employer
 15    must pay its employees for all “hours worked.”
 16          133. Defendants did not pay wages for any of the time that they controlled
 17    Plaintiff and/or permitted her to work.
 18          134. Plaintiff is not exempt from the minimum wage requirements under
 19    California law.
 20          135. Defendants failed to accurately pay Plaintiff the required legal
 21    minimum wage and compensation for all hours worked, in violation of Cal. Lab.
 22    Code §§ 204, 210, 216, 558, 1194, 1194.12, 1197 and applicable IWC Wage
 23    Order(s).
 24          136. Defendants, and each of them, individually or by and through their
 25    respective officers, directors and managing agents, ordered, authorized, approved
 26    or ratified the conduct herein alleged with the intent to deprive Plaintiff
 27    compensation and benefits to which she is, and was, entitled under California law,
 28    so as to increase Defendants’ profits at the expense of the health and welfare of
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  1    their employees, contrary to public policy and clear statutory obligations.
  2          137. As a result of the actions of Defendants in failing and refusing to pay
  3    the minimum wages required by law, Plaintiff was damaged by not receiving
  4    compensation which she should have received, but did not receive. Plaintiff is
  5    therefore entitled to compensation in an amount to be proven at trial for unpaid
  6    wages, pre-judgment interest, penalties, attorneys’ fees and costs pursuant to Cal.
  7    Lab. Code § 1194 and other applicable statutes.
  8                              FIFTH CAUSE OF ACTION
  9                  FAILURE TO PAY OVERTIME WAGES IN VIOLATION OF
 10                          CAL. LAB. CODE §§ 510, 1194, & 1197
 11                   (By Plaintiff Individually Against All Defendants)
 12          138. Plaintiff hereby incorporates by reference and re-alleges each and
 13    every allegation set forth in each and every preceding paragraph as though fully
 14    set forth herein.
 15          139. At all relevant times, Plaintiff has been a non-exempt employee of
 16    Defendants and is entitled to the full protections of the California Labor Code and
 17    of the applicable IWC Wage Order(s).
 18          140. Cal. Lab. Code § 1198 makes it unlawful for an employer to employ
 19    any person under conditions of employment that violate the Wage Order.
 20          141. Section 2(K) of IWC Wage Order 5 and section 2(H) of IWC Wage
 21    Order 10 define “hours worked” as “the time during which an employee is subject
 22    to the control of the employer, [which] includes all the time the employee is
 23    suffered or permitted to work, whether or not required to do so.” An employer
 24    must pay its employees for all “hours worked.”
 25          142. Cal. Lab. Code §§ 510 and 1194, and Section 3 of the Wage Orders,
 26    require employers to pay overtime wages to their non-exempt employees at no
 27    less than one and one-half (1 ½) times their regular rates of pay for all hours
 28    worked in excess of eight (8) hours in one workday, all hours worked in excess of
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  1    forty (40) hours in one workweek, and for the first eight (8) hours worked on a
  2    seventh consecutive workday.
  3          143. Cal. Lab. Code §§ 510 and 1194, and Section 3 of the Wage Orders,
  4    also require employers to pay overtime wages to their non-exempt employees at
  5    no less than two (2) times their regular rates of pay for all hours worked in excess
  6    of twelve (12) hours in one workday, and for all hours worked in excess of eight
  7    (8) hours on a seventh consecutive workday.
  8          144. At relevant times during their employment, Defendants failed to pay
  9    Plaintiff overtime wages for overtime hours worked.
 10          145. Pursuant to Cal. Lab. Code § 1194, Plaintiff seeks recovery of all
 11    unpaid overtime wages, interest thereon, costs of suit, and reasonable attorneys’
 12    fees, all in amounts subject to proof.
 13                              SIXTH CAUSE OF ACTION
 14                  FAILURE TO FURNISH ACCURATE WAGE STATEMENTS,
 15                             CAL. LAB. CODE §§ 226, ET. SEQ.
 16                   (By Plaintiff Individually Against All Defendants)
 17          146. Plaintiff hereby incorporates by reference and re-alleges each and
 18    every allegation set forth in each and every preceding paragraph as though fully
 19    set forth herein.
 20          147. Cal. Lab Code § 226(a) mandates that “[e]very employer shall,
 21    semimonthly or at the time of each payment of wages, furnish each of his or her
 22    employees, either as a detachable part of the check, draft, or voucher paying the
 23    employee’s wages, or separately when wages are paid by personal check or cash,
 24    an accurate itemized statement in writing showing (1) gross wages earned, (2)
 25    total hours worked by the employee, except for any employee whose
 26    compensation is solely based on a salary and who is exempt from payment of
 27    overtime under subdivision (a) of Section 515 or any applicable order of the
 28    Industrial Welfare Commission, (3) the number of piece-rate units earned and any
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  1    applicable piece rate if the employee is paid on a piece-rate basis, (4) all
  2    deductions, provided that all deductions made on written orders of the employee
  3    may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive
  4    dates of the period for which the employee is paid, (7) the name of the employee
  5    and only the last four digits of his or her social security number or an employee
  6    identification number other than a social security number, (8) the name and
  7    address of the legal entity that is the employer and, if the employer is a farm labor
  8    contractor, as defined in subdivision (b) of Section 1682, the name and address of
  9    the legal entity that secured the services of the employer, and (9) all applicable
 10    hourly rates in effect during the pay period and the corresponding number of
 11    hours worked at each hourly rate by the employee and, beginning July 1, 2013, if
 12    the employer is a temporary services employer as defined in Section 201.3, the
 13    rate of pay and the total hours worked for each temporary services assignment.”
 14    (Emphasis added.)
 15          148. Pursuant to Cal. Lab. Code § 226(e)(2)(B), “an employee is deemed
 16    to suffer injury for purposes of this subdivision if the employer fails to provide
 17    accurate and complete information as required by any one or more of items”
 18    identified above.
 19          149. As alleged in Plaintiff’s causes of action, Defendants, and each of
 20    them, regularly failed to compensate Plaintiff for all of her overtime hours
 21    worked, as well as for her missed meal and rest breaks.
 22          150. Furthermore, Defendants did not regularly furnished wage statements
 23    that identified the inclusive dates for that wage statement, in violation of Cal. Lab.
 24    Code §§ 226, et seq.
 25          151. Pursuant to Cal. Lab. Code § 226, Plaintiff seeks damages, costs of
 26    suit, and reasonable attorneys’ fees in an amount to be proven at the time of trial.
 27    ///
 28    ///
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  1                             SEVENTH CAUSE OF ACTION
  2                   WAITING TIME PENALTIES, CAL. LAB. CODE §§ 201-203
  3                     (By Plaintiff Individually Against All Defendants)
  4           152. Plaintiff hereby incorporates by reference and re-alleges each and
  5    every allegation set forth in each and every preceding paragraph as though fully
  6    set forth herein.
  7           153. At all times relevant herein, Defendants were required to pay their
  8    employees all wages owed in a timely fashion during and at the end of their
  9    employment, pursuant to Cal. Lab. Code §§ 201–203.
 10           154. As a pattern and practice, Defendants regularly failed to pay Plaintiff
 11    her final wages pursuant to Cal. Lab. Code §§ 201–203, and accordingly owe
 12    waiting time penalties pursuant to Cal. Lab. Code § 203.
 13           155. The conduct of Defendants and their agents and managerial
 14    employees as described herein was willful, and in violation of the rights of
 15    Plaintiff.
 16           156. Plaintiff is informed and believes, and on that basis alleges, that
 17    Defendants’ willful failure to pay wages due and owed to her upon separation
 18    from employment results in a continued payment of wages up to thirty (30) days
 19    from the time the wages were due. Therefore, Plaintiff is entitled to compensation
 20    pursuant to Cal. Lab. Code § 203.
 21                             EIGHTH CAUSE OF ACTION
 22                 FAILURE TO INDEMNIFY BUSINESS EXPENSES IN VIOLATION OF
 23                                  CAL. LAB. CODE § 2802
 24                     (By Plaintiff Individually Against All Defendants)
 25           157. Plaintiff hereby incorporates by reference and re-alleges each and
 26    every allegation set forth in each and every preceding paragraph as though fully
 27    set forth herein.
 28
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1           158. Cal. Lab. Code § 2802 requires employers, including Defendants, to
  2    indemnify employees for all necessary expenditures incurred by the employee in
  3    performing her job.
  4           159. As alleged herein, Defendants required Plaintiff, as a condition of her
  5    employment, pay a daily “house fee” and/or “stage fee” of twenty U.S. Dollars
  6    ($30) to forty U.S. Dollars ($40) in order to fulfill Plaintiff’s job duties.
  7           160. As alleged herein, Defendants required Plaintiff, as a condition of her
  8    employment, pay “late fees” and “leave early fees” and any balances from
  9    previous shifts in order to fulfill Plaintiff’s job duties.
 10           161. Such expenditures by Plaintiff are incurred in direct consequence of
 11    the discharge of Plaintiff’s job duties.
 12           162. As a direct and proximate result of Defendants’ failure to reimburse
 13    Plaintiff for these necessary expenditures, Plaintiff has been injured in an amount
 14    to be proved at trial.
 15           163. Plaintiff is, therefore, entitled to recover reimbursement for these
 16    necessary expenditures, and also to recover costs, interest, and attorneys’ fees as
 17    provided by California law.
 18                               NINTH CAUSE OF ACTION
 19        COMPULSION AND COERCION TO PATRONIZE EMPLOYER AND/OR OTHER
 20                        PERSONS IN VIOLATION OF CAL. LAB. CODE §450
 21                    (By Plaintiff Individually Against All Defendants)
 22           164. Plaintiff hereby incorporates by reference and re-alleges each and
 23    every allegation set forth in each and every preceding paragraph as though fully
 24    set forth herein.
 25           165. Cal. Lab. Code § 450 provides that no employer “may compel or
 26    coerce any employee, or applicant for employment, to patronize his or her
 27    employer, or any other person, in the purchase of anything of value.”
 28          166. As alleged herein, Defendants required Plaintiff to purchase various
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  1    fees such as the “house fee,” the “late fee,” and the “leave early fee” from
  2    Defendants and/or other specific persons.
  3          167. As a direct and proximate result of Defendants’ requirement that
  4    Plaintiff purchase anything of value, including the “house fee,” “stage fee,” the
  5    “late fee,” and the “leave early fee” from Defendants and/or other specific
  6    persons, Plaintiff has been injured in an amount to be proved at trial.
  7          168. By requiring Plaintiff to purchase said fees to do her job, Defendants
  8    compelled and coerced Plaintiff to patronize The Strip Joint.
  9          169. Plaintiff is, therefore, entitled to recover damages, and also to
 10    recover costs, interest, and attorney’s fees as provided by California law.
 11                              TENTH CAUSE OF ACTION
 12                         UNFAIR COMPETITION IN VIOLATION OF
 13                        CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.
 14                         (By Plaintiff and on behalf of the Class
 15                                 Against All Defendants)
 16          170. Plaintiff hereby incorporates by reference and re-alleges each and
 17    every allegation set forth in each and every preceding paragraph as though fully
 18    set forth herein.
 19          171. Cal. Bus. & Prof. Code § 17200 defines “unfair competition” to
 20    include any unlawful business practice.
 21          172. Cal. Bus. & Prof. Code §17204 allows a person who has lost money
 22    or property as a result of unfair competition to bring an action for restitution of
 23    money or property acquired from him or her by means of unfair competition.
 24          173. The FLSA prohibits employers to divert any part of an employee’s
 25    wages and overtime wages, including tips and gratuity, to itself.
 26          174. In violation of these requirements, as set forth above, Defendants
 27    violated 29 U.S.C. § 203 by forcing Plaintiff and the FLSA Class Members to
 28    participate in an invalid tip-pool with employees who typically do not receive
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  1    tips. Additionally, Defendants forced Plaintiff to use portions of her tip wages to
  2    pay Defendant managers as well as “house fees” and other fees and fines.
  3           175. In violation of these requirements, as set forth above, Defendants
  4    violated 29 U.S.C. § 206 and 29 U.S.C. § 207 by failing to pay Plaintiff and the
  5    FLSA Class Members minimum wages and overtime wages.
  6           176. As a result of Defendants’ above-alleged unlawful business practices,
  7    Plaintiff and the FLSA Class Members have lost monies and property by means
  8    of unfair competition.
  9           177. In violation of these requirements, as set forth above, Defendants
 10    compelled Plaintiff to patronize Skin.
 11           178. In violation of these requirements, as set forth above, Defendants
 12    failed to pay Plaintiff overtime wages for hours that she worked.
 13           179. In violation of these requirements, as set forth above, Defendants
 14    failed to pay Plaintiff minimum wages for the hours that she worked.
 15           180. In violation of these requirements, as set forth above, Defendants
 16    failed to indemnify business expenses to Plaintiff.
 17           181. As a result of Defendants’ above-alleged unlawful business practices,
 18    Plaintiff has lost monies and property by means of unfair competition.
 19           182. Pursuant to Cal. Bus. & Prof. Code § 17204, Plaintiff seeks an order
 20    of restitution for all monies and property that Defendants have acquired from her
 21    by means of unfair competition from the forced tip pooling.
 22           183. Plaintiff is seeking minimum wages, overtime wages, forced tips and
 23    other restitutionary relief under this equitable cause of action for the four years
 24    prior to filing this lawsuit.
 25    ///
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                                – 29 –
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  1                           ELEVENTH CAUSE OF ACTION
  2                         UNFAIR COMPETITION IN VIOLATION OF
  3                        CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.
  4                         (By Plaintiff and on behalf of the Class
  5                                 Against All Defendants)
  6          184. Plaintiff hereby incorporates by reference and re-alleges each and
  7    every allegation set forth in each and every preceding paragraph as though fully
  8    set forth herein.
  9          185. Defendants required Plaintiff to pay monetary fees to Defendants and
 10    other Skin employees who did not work in positions that are customarily and
 11    regularly tipped, in violation of 29 U.S.C. § 203(m).
 12          186. Defendants’ requirement that Plaintiff pay fees to Defendants and
 13    other Skin employees violated the “free and clear” requirement of 29 C.F.R. §
 14    531.35.
 15          187. Because Defendants violated the “free and clear” requirement of 29
 16    C.F.R. § 531.35 as alleged above, they were not entitled to utilize the FLSA’s tip-
 17    credit provision with respect to Plaintiff’s wages.
 18          188. Because Defendants violated the “free and clear” requirement of 29
 19    C.F.R. § 531.35, all monetary fees imposed on Plaintiff are classified as illegal
 20    kickbacks.
 21          189. Plaintiff is entitled to recover from Defendants all fees that
 22    Defendants required Plaintiff to pay in order to work at Skin, involving but not
 23    limited to house fees and tip sharing.
 24    ///
 25    ///
 26    ///
 27    ///
 28    ///
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                                – 30 –
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  1                               PRAYER FOR RELIEF
  2          WHEREFORE, Plaintiff requests of this Court the following relief:
  3                1. For compensatory damages according to proof at trial of at least
  4                   $100,000 for jurisdictional purposes;
  5                2. For special damages according to proof at trial;
  6                3. For restitution of unpaid monies;
  7                4. For attorneys’ fees;
  8                5. For costs of suit incurred herein;
  9                6. For statutory penalties;
 10                7. For civil penalties;
 11                8. For pre-judgment interest;
 12                9. For post-judgement interest;
 13                10.For general damages in an amount to be proven at trial;
 14                11.For declaratory relief;
 15                12.For injunctive relief; and
 16                13.For such other and further relief as the tribunal may deem just and
 17                   proper.
 18
       Dated: February 4, 2020                           KRISTENSEN LLP
 19
 20                                                      /s/ John P. Kristensen
                                                         John P. Kristensen
 21                                                      Jesenia A. Martinez
 22                                                      Jacob J. Ventura
 23                                                      Attorneys for Plaintiff
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            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
                                                – 31 –
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  1                              DEMAND FOR JURY TRIAL
  2          Plaintiff hereby demands a trial by jury for all such triable claims.
  3
  4
  5    Dated: February 4, 2020                          KRISTENSEN LLP
  6
                                                        /s/ John P. Kristensen
  7                                                     John P. Kristensen
                                                        Jesenia A. Martinez
  8
                                                        Jacob J. Ventura
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 10                                                     Attorneys for Plaintiff

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            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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